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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-cr-80160-DIMITROULEAS


  UNITED STATES OF AMERICA

         v.

  RAUL GORRIN BELISARIO,

         Defendant.
                                             I

                                        ORDER UNSEALING

         THIS MATTER is before the Court upon the United States' Motion to Unseal.             The Court

  has carefully reviewed said motion, the entire court file, and is otherwise fully advised.

         Accordingly, after due consideration, it is

         ORDERED AND ADJUDGED as follows:                      The Clerk of Court shall unseal the

  indictment, arrest warrant, and all other pleadings in this case.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  JJday ofNovember, 2018.
                                                                                                     (


                                                 United States District Judge



  CC:     Michael B. Nadler, AUSA
          Vanessa Sisti Snyder, DOJ Trial Attorney




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